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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   ORACLE AMERICA, INC.,                                      No. C 10-03561 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                       ORDER STRIKING
                                                                         13                                                              IMPROPER REPLY
                                                                              GOOGLE INC.,                                               EXPERT REPORTS
                                                                         14                  Defendant.
                                                                         15                                               /

                                                                         16                                          INTRODUCTION
                                                                         17          In this patent and copyright infringement action, the instant issue is whether, after the
                                                                         18   opening damages report and the opposition damages report, may a reply to the opposition be
                                                                         19   served by a brand-new expert in addition to a reply by the original opening expert. The answer
                                                                         20   is no. This litigation maneuver will not be allowed and the reply by the new expert will
                                                                         21   be stricken.
                                                                         22                                             STATEMENT
                                                                         23          The facts of this action have been set forth in previous orders (see Dkt. Nos. 137, 230,
                                                                         24   433). The November 2010 case management scheduling order provided the following general
                                                                         25   guidance regarding expert reports (Dkt. No. 56 at 2):
                                                                         26
                                                                         27
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                                                                          1                    Subject to the exception in the next paragraph, the last date for
                                                                                               designation of expert testimony and disclosure of full expert
                                                                          2                    reports under FRCP 26(a)(2) as to any issue on which a party has
                                                                                               the burden of proof (“opening reports”) shall be JULY 29, 2011.
                                                                          3                    Within FOURTEEN CALENDAR DAYS of said deadline, all other
                                                                                               parties must disclose any expert reports on the same issue
                                                                          4                    (“opposition reports”). Within SEVEN CALENDAR DAYS thereafter,
                                                                                               the party with the burden of proof must disclose any reply reports
                                                                          5                    rebutting specific material in opposition reports. Reply reports
                                                                                               must be limited to true rebuttal and should be very brief. They
                                                                          6                    should not add new material that should have been placed in the
                                                                                               opening report and the reply material will ordinarily be reserved
                                                                          7                    for the rebuttal or sur-rebuttal phase of the trial.
                                                                          8   The “exception in the next paragraph” provided more specific guidance regarding damages
                                                                          9   experts (id. at 3):
                                                                         10                    Any party seeking monetary damages must serve all of its damages
                                                                                               report SEVENTY CALENDAR DAYS before the other non-damages
                                                                         11                    opening reports are due. Within FOURTEEN CALENDAR DAYS of
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                                                                                               receipt of such damages reports, the opposing side must file any
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                                                                         12                    Daubert or other motion directed at the methodology, reliability or
                                                                                               other defect, said motion to be heard on a normal 35-day track.
                                                                         13                    The opposition report will be due FOURTEEN CALENDAR DAYS
                                                                                               after the ruling on such motion with any reply due SEVEN
                                                                         14                    CALENDAR DAYS thereafter. One purpose of this timing is to give
                                                                                               the party seeking damages a brief window in which to cure
                                                                         15                    (if possible) any flaws in the study.
                                                                         16           Plaintiff Oracle America, Inc. served the opening damages report of Dr. Iain Cockburn in
                                                                         17   May 2011. No other opening damages report was served. Defendant Google Inc. challenged the
                                                                         18   Cockburn report with a Daubert motion, which was largely granted in July 2011. The July 2011
                                                                         19   order on that motion allowed Oracle an opportunity to cure the defects of the Cockburn report
                                                                         20   (Dkt. No. 230 at 15–16):
                                                                         21                    Oracle’s revised damages report limited to the claims actually to
                                                                                               be tried will be due 35 DAYS before the final pretrial conference
                                                                         22                    and any responsive defense report will be due FOURTEEN DAYS
                                                                                               before the final pretrial conference. The author of the report must,
                                                                         23                    of course, sit for another deposition.
                                                                         24   The order did not address the possibility of any additional damages reports, but did not disturb the
                                                                         25   case management scheduling order’s provision for a “very brief” reply report.
                                                                         26           In August 2011, a conference was held with counsel for the parties and with candidates to
                                                                         27   serve as an independent damages expert pursuant to FRE 706. At that conference, counsel for
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                                                                          1   Oracle stated that Oracle might present a second damages expert in addition to Dr. Cockburn
                                                                          2   (Dkt. No. 350 at 32):
                                                                          3                   THE COURT:             So who are the experts we will be
                                                                                                                     critiquing here?
                                                                          4
                                                                                              MR. HOLTZMAN:          Our original expert was Professor Iain
                                                                          5                                          Cockburn, Boston University. We may or
                                                                                                                     may not add a second expert, who would
                                                                          6                                          most likely be Ken Serwin.
                                                                          7                   THE COURT:             Ken Who?
                                                                          8                   MR. HOLTZMAN:          Serwin, S-E-R-W-I-N. Those would be the
                                                                                                                     primary damage-related experts.
                                                                          9
                                                                              Oracle, however, never served any opening damages report by Dr. Serwin. Oracle served the
                                                                         10
                                                                              revised opening damages report of Dr. Cockburn in September 2011; no other opening damages
                                                                         11
United States District Court




                                                                              report was served.
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                                                                         12
                                                                                     During the four days following service of the revised opening Cockburn report, the parties
                                                                         13
                                                                              exchanged several rounds of correspondence concerning whether Oracle was entitled to serve any
                                                                         14
                                                                              reply report on damages and, if so, when it would be due. At various times, Oracle referred to
                                                                         15
                                                                              “the reply report” and “our submission of damages reply/rebuttal reports, should we elect to
                                                                         16
                                                                              submit any” (Purcell Exhs. A, B). At no point during this exchange did Oracle state an intent to
                                                                         17
                                                                              submit any damages report from an expert other than Dr. Cockburn (Purcel Decl. ¶ 9).
                                                                         18
                                                                                     On October 3, 2011, Google served two opposition damages reports by two different
                                                                         19
                                                                              experts. One report addressed the alleged copyright infringement, and the other addressed the
                                                                         20
                                                                              alleged patent infringement. On October 7, Oracle served its list of trial witnesses. It identified
                                                                         21
                                                                              Dr. Serwin as “an expert retained by Oracle who may testify as a rebuttal witness regarding
                                                                         22
                                                                              damages” (Dkt. No. 491-1 at 12).
                                                                         23
                                                                                     Three days later, Oracle served four more expert reports on damages. There were two
                                                                         24
                                                                              reply reports by Dr. Cockburn, one addressing each of Google’s damages reports. There were
                                                                         25
                                                                              also two “rebuttal” reports by Dr. Serwin, likewise one addressing each of Google’s damages
                                                                         26
                                                                              reports. These were the first reports by Dr. Serwin served in this matter (Purcell Decl. ¶ 2).
                                                                         27
                                                                                     Google now moves to strike the “rebuttal” reports of Dr. Serwin as improper. Oracle
                                                                         28
                                                                              opposes. This order follows expedited briefing (see Dkt. No. 530).

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                                                                          1                                                ANALYSIS
                                                                          2          The issue presented is whether a new expert who did not serve any opening report may
                                                                          3   nonetheless make a reply submission attacking the opposition reports served by the other side.
                                                                          4   Neither party has identified any controlling authority on this point. This order therefore addresses
                                                                          5   the question as a matter of case management and finds that the answer is no.
                                                                          6          The case management scheduling order emphasized the limited nature of reply reports
                                                                          7   (i.e., those reports responding to opposition reports). For example, it noted that reply reports
                                                                          8   “should be very brief” and “must be limited to true rebuttal” (Dkt. No. 56 at 2):
                                                                          9                   Within SEVEN CALENDAR DAYS thereafter, the party with the
                                                                                              burden of proof must disclose any reply reports rebutting specific
                                                                         10                   material in opposition reports. Reply reports must be limited to
                                                                                              true rebuttal and should be very brief. They should not add new
                                                                         11                   material that should have been placed in the opening report and the
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                                                                                              reply material will ordinarily be reserved for the rebuttal or
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                                                                         12                   sur-rebuttal phase of the trial.
                                                                         13    It established a system for exchanging expert reports that placed a full up-front disclosure duty
                                                                         14   upon the party with the burden of proof on a given issue. This system contemplated a narrowing
                                                                         15   of issues through the service of opening, then opposition, then reply reports (if at all), similar to
                                                                         16   the order of proof at trial or the examination of a particular witness at trial. It was designed to
                                                                         17   forestall “sandbagging” by a party with the burden of proof who wishes to save its best points for
                                                                         18   reply, when it will have the last word, a common litigation tactic.
                                                                         19          True, reply reports were not explicitly limited to the authors of the opening reports. The
                                                                         20   Court thought this was already clear and in twelve years of using this form of case management
                                                                         21   scheduling order, this is the first time anyone has suggested to the contrary. The case
                                                                         22   management scheduling order cannot fairly be read to bless expansion of the expert roster at the
                                                                         23   reply stage. The reply, if made at all, must expressly be very short. There is no opportunity
                                                                         24   provided for a deposition of the reply expert for the obvious reason that the expert was already
                                                                         25   deposed earlier after the opening report. There is no way, moreover, that all of the
                                                                         26   Rule 26(a)(2)(B) mandatory items could be provided in a “very brief” document. It is impossible
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                                                                          1   to imagine and explicitly preclude every possible litigation trick ahead of time. Any reasonable
                                                                          2   reading of the case management scheduling order counsels against what Oracle is now trying to do.
                                                                          3          A party with the burden of proof on an issue should not be allowed to secretly prepare an
                                                                          4   army of “rebuttal” experts to attack the opposition reports like Odysseus and the Greeks springing
                                                                          5   forth from their wooden hideout in Troy. If they were allowed to do so, their work would not be
                                                                          6   subject to a direct response from any opposing expert. This immunity, combined with the
                                                                          7   element of surprise, would be unfair. Moreover, the late addition of new experts would frustrate
                                                                          8   case-management objectives by complicating the task of planning and preparing the case for trial.
                                                                          9          Here, Oracle served two reply reports attacking each of Google’s two opposition reports
                                                                         10   on damages — one by Dr. Cockburn, the original expert who authored Oracle’s opening report on
                                                                         11   damages, and one by Dr. Serwin, the new expert who crept out of the woodwork only for this
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                                                                         12   purpose. Both are economists. Oracle does not claim that Dr. Cockburn would have been
                                                                         13   unqualified to make the Serwin reply points. Nor has Oracle identified any issue raised by
                                                                         14   Google’s opposition reports whose rebuttal might require or be enhanced by some specialty of
                                                                         15   Dr. Serwin. Yet Dr. Serwin’s reply reports were 46 and 27 pages long, respectively. Each one
                                                                         16   was about 40% as long as the corresponding opposition report (see Opp. 2). Thus, Dr. Serwin
                                                                         17   took on a substantial role in attacking Google’s experts on damages, in addition to the rebuttal in
                                                                         18   Dr. Cockburn’s reply reports, which were 54 and 33 pages long, respectively.
                                                                         19          Oracle has identified no facts or law that would justify this highly unusual maneuver.
                                                                         20   First, the silence of the case management scheduling order as to the authorship of reply reports
                                                                         21   did not entitle Oracle to serve the Serwin reports. This point was explained above.
                                                                         22          Second, the reference in the case management scheduling order to multiple “reply reports”
                                                                         23   simply acknowledged the fact that expert reports might be served on multiple issues. It did not
                                                                         24   imply that an expert who offered no opening report on a given issue could then attack the
                                                                         25   opposition reports served on that issue.
                                                                         26          Third, contrary to Oracle, FRCP 26 does not require such an unusual tactic. Rule 26 in
                                                                         27   fact makes no reference at all to the authorship of various types of expert reports. Oracle
                                                                         28   emphasizes that Rule 26(a)(2)(D)(ii) mentions expert testimony “intended solely to contradict or


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                                                                          1   rebut evidence on the same subject matter identified by another party.” Any party offering expert
                                                                          2   testimony on an issue on which it does not bear the burden of proof would need to serve an
                                                                          3   opposition report fitting this description. This does not refer to reply reports. This categorical
                                                                          4   description in Rule 26 does not bless Oracle’s introduction of a brand-new expert by way of a
                                                                          5   reply to an opposition on an issue on which it bears the burden of proof.
                                                                          6           Fourth, the parties’ previous litigation conduct does not support Oracle’s decision to serve
                                                                          7   the Serwin reports. To the extent the parties’ conduct and supposed understandings are relevant
                                                                          8   to this analysis at all, they counsel against allowing the reports. Oracle did not disclose its intent
                                                                          9   to use a rebuttal-only expert on the issue of damages until three days before it served the disputed
                                                                         10   Serwin reports. Moreover, neither party suggested or attempted using such an expert on any
                                                                         11   other issue.
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                                                                         12           Fifth, Oracle’s argument that Google has not been prejudiced is meritless. As explained
                                                                         13   above, the practice urged by Oracle is inherently unfair and frustrates important
                                                                         14   case-management objectives.
                                                                         15                                             CONCLUSION
                                                                         16           In sum, Google’s motion to strike the “rebuttal” reports of Dr. Serwin is GRANTED. The
                                                                         17   two reports by Dr. Serwin served on October 10, 2011, are STRICKEN, and Dr. Serwin will not be
                                                                         18   permitted to testify at trial.
                                                                         19
                                                                         20           IT IS SO ORDERED.
                                                                         21
                                                                         22   Dated: November 15, 2011.
                                                                                                                                     WILLIAM ALSUP
                                                                         23                                                          UNITED STATES DISTRICT JUDGE
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